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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 UNITED STATES OF AMERICA,
                                                                     24-cr-542 (AS)
        v.

 SEAN COMBS,

                          Defendant.



                    DECLARATION OF TENY GERAGOS KRISHNASWAMY

       I, Teny Rose Geragos Krishnaswamy, declare as follows:

       1.      I am a partner at Agnifilo Intrater LLP, counsel for Sean Combs. I am licensed and

in good standing to practice law in the states of New York and California and I am also admitted

to the United States District Court for the Southern District of New York.

       2.      The declaration is based on my personal knowledge of the facts stated herein, and

is submitted in support of Mr. Combs’s opposition to the government’s motion in limine to avoid

identifying certain witnesses.

                                            Victim-2

       3.      The government has identified Victim-2 as                     .

                                            Victim-3

       4.      The government has identified Victim-3 as
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5.   There is no indication in the Jencks Act material related to




                                  Victim-4

6.   The government has identified Victim-4 as




7.




8.



9.




                                      2
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         10.    Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing

is true and correct.

Dated:          April 12, 2025
                New York, NY

                                                     Respectfully submitted,




                                                     Teny Rose Geragos, Esq.




                                                 3
